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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

C.D.A., minor child, and MR. A.,                   :
his father; and E.A.Q.A., minor                    :
child, and MR. Q., his father,                     :
                                                   :
                                   Plaintiffs,     :          CIVIL ACTION NO. 21-469
                                                   :
        v.                                         :
                                                   :
UNITED STATES OF AMERICA,                          :
                                                   :
                                   Defendant.      :

                                                 ORDER

        AND NOW, this 10th day of January, 2022, after a telephone conference with counsel;

and the stay in this matter having been scheduled to end on January 2, 2022; and the defendant

having refiled a motion to dismiss the plaintiffs’ complaint (Doc. No. 29); accordingly, it is hereby

ORDERED as follows:

        1.       The clerk of court shall REMOVE this matter from civil suspense and RETURN

it to the court’s active docket;

        2.       The plaintiffs shall file a response to the defendant’s motion to dismiss (Doc. No.

29) by February 21, 2022;

        3.       The defendant shall file any reply to the plaintiffs’ response by March 3, 2022; and

        4.       The court will hold oral argument on the defendant’s motion to dismiss (Doc. No.

29) on Wednesday, March 9, 2022, at 1:00 p.m. at the Holmes Building, 101 Larry Holmes

Drive, 4th Floor, Easton, PA 18042.


                                                       BY THE COURT:


                                                       /s/ Edward G. Smith
                                                       EDWARD G. SMITH, J.
